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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is MOOT.



  Dated: July 31, 2023
                                                            ________________________________________
                                                                       SHAD M. ROBINSON
                                                               UNITED STATES BANKRUPTCY JUDGE
  ____________________________________________________________


                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION




                                                           T
      In re:                                           §
                                                       §       Case No. 23-10164-smr
      ASTRALABS, INC.,                                 §
                                                       §       Chapter 7
                Debtor.                                §
                                       O
                 ORDER SUSTAINING TRUSTEE’S LIMITED OMNIBUS
               OBJECTION TO CLAIMS OF APEX FUNDING SOURCE, LLC
           AND IRUKA CAPITAL GROUP, LLC FOR PURPOSES OF DISPUTING
       ELIGIBILITY TO VOTE IN TRUSTEE ELECTION PURSUANT TO 11 U.S.C. § 702
                            Proofs of Claim Nos. 164 and 165
                      O
               Upon the Limited Omnibus Objection to Claims of Apex Funding Source, LLC and Iruka

  Capital Group, LLC for Purposes of Disputing Eligibility to Vote in Trustee Election Pursuant to

  11 U.S.C. § 702 (the “Limited Objection”) 1 filed by Randolph N. Osherow, not individually but
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  in his capacity as the duly appointed chapter 7 trustee (in such capacity, the “Trustee”), for and on

  behalf of ASTRALABS, Inc. (the “Debtor”) and its bankruptcy estate established under the




  1
        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Limited
        Objection.

  ORDER SUSTAINING TRUSTEE’S OMNIBUS LIMITED OBJECTION TO CLAIMS FOR
  PURPOSES OF DISPUTING ELIGIBILITY TO VOTE IN TRUSTEE ELECTION                                           Page 1
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  above-captioned chapter 7 case (“Bankruptcy Case”) for entry of an order finding that Apex

  Funding Source, LLC and Iruka Capital Group, LLC are not eligible to vote in any trustee election

  held pursuant to 11 U.S.C. § 702(a) in this case, as more fully set forth in the Limited Objection;

  and after due deliberation and consideration of the record before it, and for the reasons set forth in

  the objection, it is HEREBY ORDERED THAT:

         1.      The Limited Objection is sustained as set forth herein.

         2.      With respect to any potential trustee election held pursuant to 11 U.S.C. § 702 in

  this case, neither Apex Funding Source, LLC nor Iruka Capital Group, LLC are eligible to request

  same or vote their claims, including but not limited to the respective claims listed on the Debtor’s

  schedules and their respective filed proofs of claim.

         3.




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                 Entry of this Order is without prejudice to the Trustee’s right to assert further

  objections to the claims asserted by Apex Funding Source, LLC and Iruka Capital Group, LLC,
                                   O
  on any grounds whatsoever, at a later date.

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  ORDER SUSTAINING TRUSTEE’S OMNIBUS LIMITED OBJECTION TO CLAIMS FOR
  PURPOSES OF DISPUTING ELIGIBILITY TO VOTE IN TRUSTEE ELECTION                                   Page 2
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                                         3



  Order respectfully submitted by:
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  Texas Bar No. 24028756
  Thanhan Nguyen
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  MUNSCH HARDT KOPF & HARR, P.C.
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  TRUSTEE’S OMNIBUS LIMITED OBJECTION TO CLAIMS FOR PURPOSES OF
  DISPUTING ELIGIBILITY TO VOTE IN TRUSTEE ELECTION                        Page 3
